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      Acacia Research Corporation
 10                            UNITED STATES DISTRICT COURT
 11                          CENTRAL DISTRICT OF CALIFORNIA
 12                                     SOUTHERN DIVISION
 13
       HMD GLOBAL OY,                                Case No. 8:20-mc-127
 14
                             Movant,                 [PROPOSED] ORDER GRANTING
 15                                                  ACACIA RESEARCH
              vs.                                    CORPORATION’S APPLICATION
 16                                                  TO FILE UNDER SEAL
       ACACIA RESEARCH
 17    CORPORATION,
 18                          Respondent.             Judge: John D. Early
                                                     Date: [TBD]
 19                                                  Time: [TBD]
                                                     Place: [TBD]
 20                                                  Discovery Cutoff: March 18, 2021
                                                     Pretrial Conference: June 29, 2021
 21                                                  Trial Date: August 2, 2021

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      [PROPOSED] ORDER GRANTING APPLICATION FOR LEAVE TO FIE UNDER SEAL                   -
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  1          The Court having considered the Application for an Order permitting Acacia
  2   Research Corporation to File under Seal and supporting declarations, finds that the
  3   application should be GRANTED. It is therefore ORDERED that ARC may file the
  4   following documents under seal:
  5    Document                                          Sealed Portions

  6    Acacia        Research         Corporation’s Highlighted portions

  7    Memorandum of Law in Opposition to

  8    Motion by HMD Global Oy to Compel
       Production of Documents from Acacia
  9
       Research Corporation
 10
       The Declaration of Eric Lucas in Highlighted portions
 11
       Opposition to Motion by HMD Global
 12
       Oy to Compel Production of Documents
 13
       from Acacia Research Corporation
 14
       The Declaration of Marc Booth in Highlighted portions
 15
       Opposition to Motion by HMD Global
 16
       Oy to Compel Production of Documents
 17
       from Acacia Research Corporation
 18
 19
             IT IS SO ORDERED
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 21
 22        DATED:                                  _____________________________________
                                                   UNITED STATES MAGISTRATE JUDGE
 23
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 26
 27
 28
      [PROPOSED] ORDER GRANTING APPLICATION FOR LEAVE TO FIE UNDER SEAL                -
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